Case 2:21-cv-03685-GW-MRW Document 1 Filed 04/30/21 Page 1 of 8 Page ID #:1




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      Attorney(s) for Plaintiff Battery Conservation Innovations, LLC
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  7
                      IN THE UNITED STATES DISTRICT COURT
  8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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       BATTERY CONSERVATION                          CASE NO.: 2:21-cv-03685
       INNOVATIONS, LLC,
 11
                          Plaintiff,
 12                                                  JURY TRIAL DEMANDED
       v.
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 14    ROSEWILL, INC.,

 15                       Defendant.
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 18                                      COMPLAINT
 19         Plaintiff Battery Conservation Innovations, Inc. (“Plaintiff” or “BCI”) files this
 20   complaint against Rosewill, Inc. (“Defendant” or “Rosewill”) for infringement of U.S.
 21   Patent No. 9,239,158 (hereinafter the “`158 Patent”) and alleges as follows:
 22                                         PARTIES
 23   1.    Plaintiff is a Texas limited liability company with an office address of 1 East
 24   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
 25   2.    On information and belief, Defendant is a Delaware corporation with its principal
 26   office at 17560 Rowland Street, City of Industry, CA 91748. On information and
 27   belief, Defendant may be served through its agent, Corporation Service Company, 251
 28   Little Falls Drive, Wilmington, DE 19808.
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                     PLAINTIFF’S COMPLAINT AGAINST DEFENDANT ROSEWILL, INC.
Case 2:21-cv-03685-GW-MRW Document 1 Filed 04/30/21 Page 2 of 8 Page ID #:2




  1                                JURISDICTION AND VENUE
  2   3.     This action arises under the patent laws of the United States, 35 U.S.C. § 271 et
  3   seq. Plaintiff is seeking damages, as well as attorney fees and costs.
  4   4.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal
  5   Question) and 1338(a) (Patents).
  6   5.     On information and belief, this Court has personal jurisdiction over Defendant
  7   because Defendant has committed, and continues to commit, acts of infringement in
  8   this District, has conducted business in this District, and/or has engaged in continuous
  9   and systematic activities in this District.
 10   6.     Upon information and belief, Defendant’s instrumentalities that are alleged
 11   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
 12   in the District.
 13   7.     Venue is proper in this District under 28 U.S.C. §1400(b) because Defendant is
 14   deemed to be a resident in this District. Alternatively, acts of infringement are occurring
 15   in this District and Defendant has a regular and established place of business in this
 16   District.
 17                                       BACKGROUND
 18   8.     On January 19, 2016, the United States Patent and Trademark Office (“USPTO”)
 19   duly and legally issued the `158 Patent, entitled “Battery-Conserving Flashlight and
 20   Method Thereof.” The ‘158 Patent is attached as Exhibit A.
 21   9.     Plaintiff is currently the owner of the `158 Patent.
 22   10.    Plaintiff possesses all rights of recovery under the `158 Patent, including the
 23   exclusive right to recover for past, present and future infringement.
 24                                         COUNT ONE
 25                      (Infringement of United States Patent No. 9,239,158)
 26   11.    Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 10, the same
 27   as if set forth herein.
 28   12.    This cause of action arises under the patent laws of the United States and, in

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                         PLAINTIFF’S COMPLAINT AGAINST DEFENDANT ROSEWILL, INC.
Case 2:21-cv-03685-GW-MRW Document 1 Filed 04/30/21 Page 3 of 8 Page ID #:3




  1   particular under 35 U.S.C. §§ 271, et seq.
  2   13.   Defendant has knowledge of its infringement of the `158 Patent, at least as of the
  3   service of the present complaint.
  4   14.   Upon information and belief, Defendant has infringed and continues to infringe
  5   one or more claims, including at least Claim 15, of the ‘158 Patent by making, using,
  6   importing, selling, and/or offering for sale battery conserving electronic devices
  7   covered by one or more claims of the ‘158 Patent.
  8   15.   Accordingly, Defendant has infringed, and continues to infringe, the `158 Patent
  9   in violation of 35 U.S.C. § 271.
 10   16.   Defendant sells, offers to sell, and/or uses battery conserving electronic devices,
 11   including, without limitation, the RWM Series Wireless Mouse, and any similar
 12   products (“Product”), which infringe at least Claim 15 of the ‘158 Patent.
 13   17.   The Product is a battery-conserving electronic device. For example, the Product
 14   is powered through a replaceable battery. The Product includes motion sensing
 15   capabilities wherein the Product may automatically switch to sleep mode when no
 16   movement is detected. Certain aspects of this element are illustrated in the screenshot(s)
 17   below and/or in those provided in connection with other allegations herein.
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                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT ROSEWILL, INC.
Case 2:21-cv-03685-GW-MRW Document 1 Filed 04/30/21 Page 4 of 8 Page ID #:4




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 13   18.   The Product includes a body with an opening for accessing an interior of the
 14   body. For example, the Product includes a housing, which may be accessed by a user,
 15   and which houses a battery. Certain aspects of these elements are illustrated in the
 16   screen shots below and/or in screenshots provided in connection with other allegations
 17   herein.
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                     PLAINTIFF’S COMPLAINT AGAINST DEFENDANT ROSEWILL, INC.
Case 2:21-cv-03685-GW-MRW Document 1 Filed 04/30/21 Page 5 of 8 Page ID #:5




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      19.   The Product has at least one replaceable battery disposed in the body and
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      configured for powering the device. Certain aspects of these elements are illustrated in
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      the screen shots below and/or in screenshots provided in connection with other
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      allegations herein.
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      20.   The Product includes a controller (e.g., processor responsive to motion sensors)
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      disposed in the body configured to determine if the body is in motion (e.g., motion
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      sensors detect motion of device; when motion is absent, device can switch to sleep
 25
      mode). If the device is not in motion for a first predetermined period of time, the
 26
      controller decouples the at least one battery from the electronic device to conserve
 27
      energy in the at least one battery. For example, the Product is able to switch to a sleep
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                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT ROSEWILL, INC.
Case 2:21-cv-03685-GW-MRW Document 1 Filed 04/30/21 Page 6 of 8 Page ID #:6




  1   mode in which a controller controls the activity monitoring for the Product to save
  2   battery life of the mouse. Certain aspects of these elements are illustrated in the screen
  3   shots below and/or in screenshots provided in connection with other allegations herein.
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      21.   The Product has a visual indicator (e.g., LED status indicator) disposed on an
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      exterior surface of the body. The indicator may function differently for different
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      situations, implying a controller activates the visual indicator. Certain aspects of these
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      elements are illustrated in the screen shots below and/or in screenshots provided in
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      connection with other allegations herein.
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                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT ROSEWILL, INC.
Case 2:21-cv-03685-GW-MRW Document 1 Filed 04/30/21 Page 7 of 8 Page ID #:7




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 15   22.   Defendant’s actions complained of herein will continue unless Defendant is
 16   enjoined by this Court.
 17   23.   Defendant’s actions complained of herein is causing irreparable harm and
 18   monetary damage to Plaintiff and will continue to do so unless and until Defendant is
 19   enjoined and restrained by this Court.
 20   24.   The `158 Patent is valid, enforceable, and was duly issued in full compliance
 21   with Title 35 of the United States Code.
 22   25.   By engaging in the conduct described herein, Defendant has injured Plaintiff and
 23   is thus liable for infringement of the `158 Patent, pursuant to 35 U.S.C. § 271.
 24   26.   Defendant has committed these acts of literal infringement, or infringement
 25   under the doctrine of equivalents of the `158 Patent, without license or authorization.
 26   27.   As a result of Defendant’s infringement of the `158 Patent, Plaintiff has suffered
 27   monetary damages and is entitled to a monetary judgment in an amount adequate to
 28   compensate for Defendant’s past infringement, together with interests and costs.

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                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT ROSEWILL, INC.
Case 2:21-cv-03685-GW-MRW Document 1 Filed 04/30/21 Page 8 of 8 Page ID #:8




  1   28.    Plaintiff is in compliance with 35 U.S.C. § 287.
  2   29.    As such, Plaintiff is entitled to compensation for any continuing and/or future
  3   infringement of the `158 Patent up until the date that Defendant ceases its infringing
  4   activities.
  5                               DEMAND FOR JURY TRIAL
  6   30.    Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial
  7   by jury of any issues so triable by right.
  8                                  PRAYER FOR RELIEF
  9   WHEREFORE, Plaintiff asks the Court to:
 10   (a)   Enter judgment for Plaintiff on this Complaint on all cases of action asserted
 11   herein;
 12   (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,
 13   attorneys, and all persons in active concert or participation with Defendant who
 14   receives notice of the order from further infringement of United States Patent No.
 15   9,239,158 (or, in the alternative, awarding Plaintiff running royalty from the time
 16   judgment going forward);
 17   (c) Award Plaintiff damages resulting from Defendant’s infringement in accordance
 18   with 35 U.S.C. § 284;
 19   (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under
 20   law or equity.
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      Dated: April 30, 2021                         Respectfully submitted,

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 24                                                 /s/ Stephen M. Lobbin
                                                    Attorney(s) for Plaintiff Battery
 25                                                 Conservation Innovations, LLC
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                       PLAINTIFF’S COMPLAINT AGAINST DEFENDANT ROSEWILL, INC.
